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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Grand Canyon University,                        NO. CV-21-00566-PHX-DLR
10                  Plaintiff,
                                                    JUDGMENT IN A CIVIL CASE
11   v.
12   Miguel Cardona, et al.,
13                  Defendants.
14
15            Decision by Court. This action came for consideration before the Court. The
16   issues have been considered and a decision has been rendered.

17            IT IS ORDERED AND ADJUDGED that, pursuant to the Court’s Order filed
18   November 18, 2021, which granted the Motion to Dismiss, judgment is entered in favor

19   of defendants and this case is hereby terminated.

20                                            Debra D. Lucas
                                              District Court Executive/Clerk of Court
21
22   November 18, 2021
                                              s/ L. Dixon
23                                      By    Deputy Clerk
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